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                                    F TTO                          IV

        I, Carl Ferrer, state the following in my capacity as sole owner and manager of Dartmoor
Holdings LLC, which wholly owns and operates Backpage.com LLC (of which I am Chief
Executive Officer), Website Technologies LLC, IC Holdings LLC, Posting Solutions LLC, and
Postfaster LLC, hereafter referred to as "the Companies." I am authorized to waive each of the
Companies' attorney-client privilege and am doing so because I believe executing such waiver is
in each ofthe Companies' best interest.


        I further state that, being represented by counsel and being fully advised as to this matter,
I hereby voluntarily waive all aspects ofthe attorney-client privilege, on behalf ofthe Companies,
which otherwise may have applied to communications, documents and information that I or the
Companies have provided to law enforcement or which law enforcement may already have in its
possession.from other sources, as follows:
        a. All communications related to the "adult," "escort," "dating," and "services" sections
of the Companies' websites, including but not limited to company policies, moderation practices,
age verification practices, legality, content, and compliance with law enforcement.
        b. All communications related to the Companies' financial activity, including but not
limited to the sale of Backpage.com in 2015, all loans and financing agreements related to the sale
of that company in 2015, monetization of the Companies' websites, payment processing, credit
card processing, banking, and payment of loans.
       c. All communications regarding the relationship between the Companies (including their
current owner and employees) anc~ their farmer owners and officers, including but not limited to,
James Larkin, Michael Lacey, John ("Jed") Brunst and Scott Spear, as well as communications
between the Companies {including their current owner and employees} and Don Bennett Moon.


       I further state tkat, in addition to the foregoing waiver, I hereby voluntarily waive, an
behalf ofthe Companies, all aspects of the attorney-client privilege which otherwise may have
applied to the Companies' relationship with any attorney {"previous attorneys"} who was
retained to represent the Companies in connection with various matters related to the subjects
listed above. This attorney-client privilege waiver is meant to apply to all communications
between the Companies and any attorney representing them at any time; all acts undertaken by
others acting an the Companies' attorneys' behalf taken in connection with representing the
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Companies related to the subjects listed above; and any and all documents generated through
their representation ofthe Companies that belong to the Companies.



       I further state that this waiver does not apply in any respect to any aspect of the
Companies' representation by David Botsford of Botsford &Roark LI,P, or to any aspect of my
personal attorney-client relationship with attorneys who have represented me in the past ar who
currently represent me in an individual capacity, including, but not limited to, Nanci Clarence,
Jonathan Baurn and Shaneeda Jaffer of Clarence, Dyer & Cahen, and the Law Offices of E.C'i.
Morris.

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                ~v ~s

DATE                                                  Carl Ferrer
